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 6   Attorney for Defendant
 7   JUSTIN ROBERT CRUZ WHITE

 8                               IN THE SUPERIOR COURT OF GUAM
 9                                           HAGÅTÑA, GUAM
10
     UNITED STATES OF AMERICA            )                 CRIMINAL CASE NO. 15-00041
11                                       )
12               vs.                     )
                                         )                 DECLARATION OF COUNSEL
13   JUSTIN ROBERT WHITE CRUZ            )                 IN SUPPORT OF MOTION
                                         )                 TO WITHDRAW AS COUNSEL
14                           Defendant.  )
15   ____________________________________)

16   Hagåtña, Guam.
17          I, CYNTHIA V. ECUBE, hereby declare and state as follows:
18          (1)      That I am the court appointed attorney for Defendant Justin Robert White Cruz, in
19   the above-entitled criminal proceeding.

20          (2)     That I make the statements herein based on my own personal knowledge, except where

21   stated on information and belief.

22          (3)     Based on information and belief, I learned information through prior legal counsel that
     an individual that I currently represent has provided information to the Government regarding
23
     Defendant Justin Robert White Cruz. Upon learning this information, I believe I may have a conflict
24
     of interest in my continuing representation of Defendant Justin Robert White Cruz.
25
            I declare under penalty of perjury under the laws of Guam (6 GCA §4308) that the foregoing is true
26
     and correct.
27
            Executed on this 7th day of January, 2016, in Hagåtña, Guam.
28
29                                                           /s/ Cynthia V. Ecube
                                                           CYNTHIA V. ECUBE


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